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Attorney for Defendant
PAVEL “PAUL” BABICHENKO

                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO
                                (HONORABLE B. LYNN WINMILL)
UNITED STATES OF AMERICA,

               Plaintiff,                           CASE NO. CR-18-258-BLW
vs.
PAVEL BABICHENKO,                                   NOTICE OF INTENT TO JOIN IN
GENNADY BABITCHENKO,                                MOTION TO DISMISS MISCONDUCT
PIOTR BABICHENKO,                                   BEFORE A GRAND JURY (Dkt. 374)
TIMOFEY BABICHENKO,
KRISTINA BABICHENKO,
NATALYA BABICHENKO,
DAVID BIBIKOV,
ANNA IYERUSALIMENTS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,

               Defendants.




       COMES NOW, PAVEL “PAUL” BABICHENKO, by and through his attorney, John C.

DeFranco, hereby provides notice to the District Court and the Government of its intent to join in

the previously filed Motion To Dismiss Misconduct Before The Grand Jury, filed by Defendant

Gennady Babitchenko. (Dkt. 374). The defense avers it has substantially similar arguments to

the ones presented by Jeffrey Brownson, on behalf of his client. The defense believes the court’s




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granting of permission to join in his motion will promote judicial economy and it does not

prejudice the Government.

       Dated: February 28, 2020
                                        ________/s/___________________
                                       John Charles DeFranco
                                       Attorney for Pavel “Paul” Babichenko




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of February 2020, I filed the foregoing electronically
through the CM/ECF system, which caused the parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

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                                        ________/s/___________________
                                        Megan Lentz




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